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                         THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF UTAH

  RUSSELL GREER,                                      DEFENDANTS’ MOTION FOR
                                                      SANCTIONS
        Plaintiff,
  v.
                                                      Case No. 2:24-cv-00421-DBB

  JOSHUA MOON, et al.                                 District Judge David Barlow
                                                      Magistrate Judge Jared C. Bennett
        Defendants.

       NOW COME the Defendants, by and through undersigned counsel, pursuant to

 Fed. R. Civ. P. 11 (c)(2), and moves for sanctions against Plaintiff Russell Greer arising

 from materially false statements filed by Mr. Greer with the Court. In support of this

 Motion, Defendants state as follows:

       1.      Fed. R. Civ. P. 11 (b) states, in relevant part, as follows:

                   By presenting to the court a pleading, written motion, or other paper—
               whether by signing, filing, submitting, or later advocating it—an attorney or
               unrepresented party certifies that to the best of the person's knowledge,
               information, and belief, formed after an inquiry reasonable under the
               circumstances:

                    (1) it is not being presented for any improper purpose, such as to
               harass, cause unnecessary delay, or needlessly increase the cost of
               litigation;

                  (2) the claims, defenses, and other legal contentions are warranted by
               existing law or by a nonfrivolous argument for extending, modifying, or
               reversing existing law or for establishing new law;
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                  (3) the factual contentions have evidentiary support or, if specifically so
               identified, will likely have evidentiary support after a reasonable
               opportunity for further investigation or discovery…

        2.     The Plaintiff has made at least two materially false statements to this

 Court, and has made such statements without making an “inquiry reasonable under the

 circumstances” to support his demonstrably false statements. Fed. R. Civ. P. 11 (b). It

 is no excuse that Mr. Greer is proceeding pro se: a "pro se litigant who chooses to rely

 upon his own understanding of legal principles and procedures… must be prepared to

 accept the consequences of his mistakes and errors." Rosenberg v. Grady, 843 P.2d

 25, 26 (Colo. App. 1992).

        3.     On December 19, 2024, Plaintiff filed a “Notice of Supplemental Authority

 of Lawyer Matthew Hardin Violating the Court’s Protective Order.” ECF No. 198. In that

 “Notice,” Mr. Greer accused undersigned counsel of violating this Court’s protective

 order. But on January 27, 2025, Mr. Greer admitted that he had not bothered to read

 the protective order, and requested the Court provide him with a copy. ECF No. 222.

 This demonstrates that Mr. Greer had no good faith basis for his accusations that

 undersigned counsel had violated the protective order, and that Plaintiff’s vociferous

 accusations against counsel were made for an improper purpose contrary to Fed. R.

 Civ. P. 11 (b). Mr. Greer repeatedly used his false and apparently un-researched

 accusations to attempt to deprive Defendants of their counsel of choice, accusing

 defense counsel at ECF No. 216 of “unprofessionalism and dishonesty” and requesting

 that undersigned counsel’s pro hac vice status be reconsidered.

        4.     On or about May 20, 2024, Mr. Greer represented to the U.S. District Court

 for the Northern District of Florida that he had witnesses “eager to testify” in Utah, and
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 requested that this case be retransferred to this District so that such witnesses could

 testify. ECF No. 123 at 15. Specifically, Mr. Greer noted that his father and an individual

 named Steve Taylor were the witnesses who were both “real” and “eager” to testify. Id.

 But that’s not all: Mr. Greer also stated that he had “more witnesses that would be called

 and summoned for a trial.” Id. Following Mr. Greer’s representations that he “HAS REAL”

 witnesses in Utah, id., the Florida court transferred this case back to Utah. ECF No. 128.

 But Mr. Greer now agrees that his father has no relevant knowledge, and Utah resident

 Steve Taylor has not been disclosed at all. ECF No. 201.1 The un-named additional

 witnesses who were previously so certain to be “called and summoned” for a trial, ECF

 No. 123 at 15, have never even been disclosed. ECF No. 201. Mr. Greer has wasted

 the resources of Defendants and of the Court, and has made false representations as

 to the identity of his witnesses in order to manipulate the judicial process. Notably, Mr.

 Greer now denies saying his witnesses were “eager” or “excited” to testify at all. ECF

 No. 221 at 4, contra. ECF No. 123 at 15.

        5.     Defendants respectfully submit that there is no good faith basis upon

 which Mr. Greer could have asserted that undersigned counsel violated this Court’s

 protective order, when Mr. Greer admitted approximately a month later that he had not

 read the order he accused Defendants of violating. ECF No. 198, contra. ECF No. 222.

 Defendants additionally submit that Mr. Greer appears to have filed false statements

 with the Court while this case was pending in Florida as to the expected testimony of



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  Mr. Greer later attempted to explain what purportedly relevant evidence Nathan and
 Scott Greer possessed. ECF No. 221 at 3-4. What knowledge Steve Taylor and the
 additional unnamed witnesses were expected to convey remains very much a mystery,
 and Defendants respectfully submit that Mr. Greer’s proffers to the Florida court and this
 Court on that issue are mutually irreconcilable.
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 Steve Taylor and additional un-named witnesses, and that Mr. Greer did so in what was

 eventually a successful attempt to convince a Florida judge to transfer this case back to

 Utah on the basis of false representations by the Plaintiff.

        6.     Mr. Greer’s false statements violate Rule 11 and severely prejudice

 Defendants. Defendants’ choice of counsel is being threatened as Mr. Greer continually

 accuses undersigned counsel of unethical behavior or of flouting this Court’s orders.

 Additionally, this case is pending in Utah rather than in Mr. Moon’s home state of Florida

 in part because Mr. Greer lied to a Florida judge about the expected testimony of Utah-

 based witnesses including but not limited to Steve Taylor. The necessity of these

 supposedly vital Utah witnesses appears to have evaporated as soon as Mr. Greer

 successfully obtained a retransfer of this case to a forum which is inconvenient and

 costly to the defense, and Mr. Greer has failed to establish any good faith basis for his

 failures to disclose testimony by Steve Taylor or any other Utah-based witness.

        WHEREFORE, the Defendants move that this Court issue an order imposing

 appropriate sanctions against Mr. Greer.

             DATED January 29, 2025

                                            HARDIN LAW OFFICE

                                            /s/ Matthew D. Hardin
                                            Matthew D. Hardin
                                            Attorney for Defendants
